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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


DEXTER ANDREWS, RAYMOND DUNN,
NUNO GOMES, TITUS ROYAL,
MATTHEW SOLER, and NICHOLAS
YOUNG,

       Plaintiffs,
                                                     Case No. 1:19-cv-10070-MLW
                     v.



AMAZON.COM, INC.,
       Defendant.


   DEFENDANT’S ANSWER AND DEFENSES TO PLAINTIFFS’ FIRST AMENDED
            CLASS ACTION COMPLAINT AND JURY DEMAND

       Defendant Amazon.com, Inc. (“Defendant” or “Amazon”), by its undersigned attorneys,

hereby answers the First Amended Class Action Complaint and Jury Demand (“Complaint”) of

Plaintiffs Dexter Andrews, Raymond Dunn, Nuno Gomes, Titus Royal, Matthew Soler, and

Nicholas Young (collectively, “Plaintiffs”), as set forth below.

       1.      Defendant admits that Plaintiffs purport to bring the instant action on behalf of

themselves and other unidentified individuals.       Defendant denies the remaining allegations

contained in Paragraph 1 of the Complaint and specifically denies that Plaintiffs’ claims are

amenable to class action adjudication.

       2.      Defendant admits that Plaintiffs purport to “call on Amazon to adopt a fair and

nondiscriminatory background screening policy,” but Defendant denies that its background check

practices and/or policies are either unfair or discriminatory and further denies that Plaintiffs and

those whom they purport to represent are entitled to any of the relief they seek.




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        3.      Because Amazon never employed Plaintiffs, Defendant lacks knowledge or

information sufficient to form a belief as to their work performance while they were employed by

certain third-party delivery service providers (“DSPs”) with whom Amazon had contracted. On

that basis, Defendant denies that “Plaintiffs were qualified for the work they were performing” and

further denies the remaining allegations contained in Paragraph 3 of the Complaint.

        4.      Defendant denies the allegations contained in Paragraph 4 of the Complaint.

        5.      Defendant admits that there are some studies indicating that communities of color

are subject to policing and traffic enforcement and are arrested and convicted at rates higher than

Caucasians, but Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in Paragraph 5. Defendant, therefore, denies those allegations and specifically denies

that any of its practices have (or ever had) a discriminatory impact on Plaintiffs or any of the

individuals they purport to represent.

        6.      Defendant denies the allegations contained in Paragraph 6 of the Complaint.

        7.      Defendant avers that the allegations in Paragraph 7 are conclusions of law to which

no response is required. To the extent a response is required, Defendant denies that Plaintiffs are

entitled to any of the relief they seek under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§

2000e et seq. (“Title VII”) and also denies that Plaintiffs’ claims are amenable to class action

litigation.

        8.      Defendant avers that the allegations in Paragraph 8 are conclusions of law to which

no response is required. To the extent a response is required, Defendant denies that Plaintiffs are

entitled to any of the relief they seek and also denies that Plaintiffs’ claims are amenable to class

action litigation.

        9.      Defendant admits Paragraph 9 of the Complaint.



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       10.     Defendant avers that the allegations in Paragraph 10 are conclusions of law to

which no response is required. To the extent a response is required, Defendant denies that

Plaintiffs are entitled to any of the relief they seek and also denies that Plaintiffs’ claims are

amenable to class action litigation.

       11.     Defendant avers that the allegations in Paragraph 11 are conclusions of law to

which no response is required. To the extent a response is required, Defendant denies that

Plaintiffs are entitled to any of the relief they seek, including but not limited to a declaratory

judgment.

       12.     Defendant admits that its records indicate that Plaintiff Andrews is an adult resident

of Dorchester, Massachusetts, and that around June 16, 2016, Plaintiff Andrews’s employer

(Medical Logistics Services, Inc. (“MLSI”)) assigned him to provide services to Amazon pursuant

to the work order executed between MLSI and Amazon.              Defendant denies the remaining

allegations contained in Paragraph 12 of the Complaint.

       13.     Defendant admits that Amazon’s records indicate that Plaintiff Dunn is an adult

resident of Boston, Massachusetts, and that around April 13, 2016, Plaintiff Dunn’s employer

(MLSI) assigned him to provide services to Amazon pursuant to the work order executed between

MLSI and Amazon. Defendant denies the remaining allegations contained in Paragraph 13 of the

Complaint.

       14.     Defendant admits that Amazon’s records indicate that Plaintiff Gomes is an adult

resident of Brockton, Massachusetts, and that around May 14, 2016, Plaintiff Gomes’s employer

(Propark America (“Propark”)) assigned him to provide services to Amazon pursuant to the work

order Propark executed with Amazon. Defendant denies the remaining allegations contained in

Paragraph 14 of the Complaint.



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       15.     Defendant admits that Amazon’s records indicate that Plaintiff Royal is an adult

resident of Boston, Massachusetts, and that around December 5, 2015, as well as around October

17, 2016, Plaintiff Royal’s employer (VHU Express (“VHU”)) assigned him to provide services

to Amazon pursuant to the work order VHU executed with Amazon. Defendant denies the

remaining allegations contained in Paragraph 15 of the Complaint.

       16.     Defendant admits that Amazon’s records indicate that Plaintiff Soler is an adult

resident of Attleboro, Massachusetts, and that around October 7, 2016, Plaintiff Soler’s employer

(TForce Direct, Inc. (“TForce”)) assigned him to provide services to Amazon pursuant to the work

order TForce executed with Amazon. Defendant denies the remaining allegations contained in

Paragraph 16 of the Complaint.

       17.     Defendant admits that Amazon’s records indicate that Plaintiff Young is an adult

resident of Boston, Massachusetts, and that around May 12, 2016, Plaintiff Young’s employer

(MLSI) assigned him to provide services to Amazon pursuant to the work order executed between

MLSI and Amazon. Defendant denies the remaining allegations contained in Paragraph 17 of the

Complaint.

       18.     Defendant admits that Amazon is a corporation that is incorporated in the State of

Delaware, that Defendant’s principal place of business is in Washington State, and that Defendant

sells products to customers through its online platform.       Defendant denies the remaining

allegations contained in Paragraph 18 of the Complaint.

       19.     Defendant avers that the allegations in Paragraph 19 are conclusions of law to

which no response is required. To the extent a response is required, Defendant denies that it ever

employed Plaintiffs and/or any of the individuals whom Plaintiffs purport to represent within the

meaning of Title VII and M.G.L. c. 151B, §§ 1 et seq.



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       20.     Defendant admits that its annual revenues in the preceding two-year period were

approximately $200 billion and that it sells millions of unique products to millions of customers

worldwide.    Defendant denies the remaining allegations contained in Paragraph 20 of the

Complaint.

       21.     Defendant admits that Defendant contracts with third party DSPs to coordinate and

execute the delivery of some products to some Amazon customers.             Defendant denies the

remaining allegations contained in Paragraph 21 of the Complaint.

       22.     Defendant admits that Plaintiffs were paid by the DSPs that they worked for and

that the work orders that Defendant executes with DSPs contain certain contractual obligations as

to terms of service. Defendant denies the remaining allegations contained in Paragraph 22 of the

Complaint.

       23.     Defendant admits that the work orders that Defendant executes with DSPs, the

terms of which may vary from DSP to DSP, may contain some form of contractual obligation for

DSPs to run a criminal background check and/or motor vehicle record check on DSP employees

assigned to service Defendant’s accounts. Defendant denies the allegations remaining contained

in Paragraph 23 of the Complaint.

       24.     Defendant denies the allegations contained in Paragraph 24 of the Complaint.

       25.     Defendant denies the allegations contained in Paragraph 25 of the Complaint.

       26.     Defendant admits that there are some studies indicating that communities of color

are subject to policing and traffic enforcement and are arrested and convicted at rates higher than

Caucasians, but Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in Paragraph 26. Defendant, therefore, denies those allegations and specifically denies




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that any of its practices have (or ever had) a discriminatory impact on Plaintiffs or any of the

individuals they purport to represent.

       27.      Defendant denies the allegations contained in Paragraph 27 of the Complaint.

       28.      Defendant denies the allegations contained in Paragraph 28 of the Complaint and

specifically denies that it ever employed Plaintiffs and/or those whom they purport to represent

and, accordingly, further denies that it ever terminated Plaintiffs and/or those whom they purport

to represent.

       29.      Defendant admits that the EEOC has issued the guidance referenced in Paragraph

29 of the Complaint and that Plaintiffs have selectively quoted some of that guidance. That

guidance, however, is a document, the terms of which speak for itself, and Defendant therefore

denies any effort by Plaintiffs to characterize or suggest conclusions from the selectively quoted

language. Defendant further denies the remaining allegations contained in Paragraph 29 of the

Complaint.

       30.      Defendant admits that is aware of the EEOC’s guidance. Defendant denies the

remaining allegations contained in Paragraph 30 of the Complaint.

       31.      Defendant avers that the allegations in Paragraph 31 are conclusions of law to

which no response is required. To the extent a response is required, Defendant denies that it ever

acted as the “employer” of Plaintiffs or those whom they purport to represent within the meaning

of Title VII and further denies that its background check practices have (or ever had) a

discriminatory impact on Plaintiffs or any of the individuals they purport to represent.

       32.      Defendant denies the allegations contained in Paragraph 32 of the Complaint and

specifically denies that it ever employed Plaintiffs and/or those whom they purport to represent




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and, accordingly, further denies that it ever terminated Plaintiffs and/or those whom they purport

to represent.

       33.      Defendant admits that its records indicate that around June 16, 2016, Plaintiff

Andrews’s employer (MLSI) assigned him to provide services to Amazon pursuant to the work

order MLSI executed with Amazon. Defendant denies the remaining allegations contained in

Paragraph 33 of the Complaint and further avers that it lacks knowledge or information sufficient

to form a belief as to Plaintiff Andrews’s race.

       34.      Defendant admits that its records indicate that around June 16, 2016, Plaintiff

Andrews’s employer (MLSI) assigned him to provide services to Amazon pursuant to the work

order MLSI executed with Amazon and that, upon information and belief, MLSI paid Plaintiff

Andrews for services Plaintiff Andrews provided to MLSI. Because Plaintiff Andrews was not

Amazon’s employee, Amazon lacks knowledge or information sufficient to form a belief as to the

remainder of Paragraph 34 and, therefore, denies the same.

       35.      Defendant admits that the work order executed by MLSI contained certain

contractual obligations regarding the procurement of criminal background and motor vehicle

record checks on MLSI employees assigned to service Amazon accounts. Because Plaintiff

Andrews was not Amazon’s employee, Amazon lacks knowledge or information sufficient to form

a belief as to the remainder of Paragraph 35 and, therefore, denies the same.

       36.      Because Plaintiff Andrews was not Amazon’s employee, Defendant lacks

knowledge or information sufficient to form a belief as to Plaintiff Andrews’s work performance

while employed by MLSI and, therefore, denies the allegations contained in Paragraph 36 of the

Complaint.




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       37.     Because Plaintiff Andrews was not Amazon’s employee, Defendant lacks

knowledge or information sufficient to form a belief as to if and when MLSI terminated Plaintiff

Andrews’s employment and, therefore, denies the allegations contained in Paragraph 37 of the

Complaint.

       38.     Defendant admits that its records indicate that around April 13, 2016, Plaintiff

Dunn’s employer (MLSI) assigned him to provide services to Amazon pursuant to the work order

MLSI executed with Amazon. Defendant denies the remaining allegations contained in Paragraph

38 of the Complaint and further avers that it lacks knowledge or information sufficient to form a

belief as to Plaintiff Dunn’s race.

       39.     Defendant admits that its records indicate that around April 13, 2016, Plaintiff

Dunn’s employer (MLSI) assigned him to provide services to Amazon pursuant to the work order

MLSI executed with Amazon and that, upon information and belief, MLSI paid Plaintiff Dunn for

services Plaintiff Dunn provided to MLSI. Because Plaintiff Dunn was not Amazon’s employee,

Amazon lacks knowledge or information sufficient to form a belief as to the remainder of

Paragraph 39 and, therefore, denies the same.

       40.     Defendant admits that the work order executed by MLSI contained certain

contractual obligations regarding the procurement of criminal background and motor vehicle

record checks on MLSI employees assigned to service Amazon accounts. Because Plaintiff Dunn

was not Amazon’s employee, Amazon lacks knowledge or information sufficient to form a belief

as to the remainder of Paragraph 40 and, therefore, denies the same.

       41.     Because Plaintiff Dunn was not Amazon’s employee, Defendant lacks knowledge

or information sufficient to form a belief as to Plaintiff Dunn’s work performance while employed

by MLSI and, therefore, denies the allegations contained in Paragraph 41 of the Complaint.



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       42.     Because Plaintiff Dunn was not Amazon’s employee, Defendant lacks knowledge

or information sufficient to form a belief as to if and when MLSI terminated Plaintiff Dunn from

employment and, therefore, denies the allegations contained in Paragraph 42 of the Complaint.

       43.     Defendant admits that its records indicate that around May 14, 2016, Plaintiff

Gomes’s employer (Propark) assigned him to provide services to Amazon pursuant to the work

order Propark executed with Amazon. Defendant denies the remaining allegations contained in

Paragraph 43 of the Complaint and further avers that it lacks knowledge or information sufficient

to form a belief as to Plaintiff Gomes’s race.

       44.     Defendant admits that its records indicate that around May 14, 2016, Plaintiff

Gomes’s employer (Propark) assigned him to provide services to Amazon pursuant to the work

order Propark executed with Amazon and that, upon information and belief, MLSI paid Plaintiff

Gomes for services Plaintiff Gomes provided to Propark. Because Plaintiff Gomes was not

Amazon’s employee, Amazon lacks knowledge or information sufficient to form a belief as to the

remainder of Paragraph 44 and, therefore, denies the same.

       45.     Defendant admits that the work order executed by Propark contained certain

contractual obligations regarding the procurement of criminal background and motor vehicle

record checks on Propark employees assigned to service Amazon accounts. Because Plaintiff

Gomes was not Amazon’s employee, Amazon lacks knowledge or information sufficient to form

a belief as to the remainder of Paragraph 45 and, therefore, denies the same.

       46.     Because Plaintiff Gomes was not Amazon’s employee, Defendant lacks knowledge

or information sufficient to form a belief as to Plaintiff Gomes’s work performance while

employed by Propark and, therefore, denies the allegations contained in Paragraph 46 of the

Complaint.



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       47.     Because Plaintiff Gomes was not Amazon’s employee, Defendant lacks knowledge

or information sufficient to form a belief as to if and when Propark terminated Plaintiff Gomes

from employment and, therefore, denies the allegations contained in Paragraph 47 of the

Complaint.

       48.     Defendant admits that its records indicate that around December 5, 2015, as well

as around October 17, 2016, Plaintiff Royal’s employer (VHU) assigned him to provide services

to Amazon pursuant to the work order VHU executed with Amazon. Defendant denies the

remaining allegations contained in Paragraph 48 of the Complaint and further avers that it lacks

knowledge or information sufficient to form a belief as to Plaintiff Royal’s race.

       49.     Defendant admits that its records indicate that around December 5, 2015, as well

as around October 17, 2016, Plaintiff Royal’s employer (VHU) assigned him to provide services

to Amazon pursuant to the work order VHU executed with Amazon and that, upon information

and belief, VHU paid Plaintiff Royal for services Plaintiff Royal provided to VHU. Because

Plaintiff Royal was not Amazon’s employee, Amazon lacks knowledge or information sufficient

to form a belief as to the remainder of Paragraph 49 and, therefore, denies the same.

       50.     Defendant admits that the work order executed by VHU contained certain

contractual obligations regarding the procurement of criminal background and motor vehicle

record checks on VHU employees assigned to service Amazon accounts. Because Plaintiff Royal

was not Amazon’s employee, Amazon lacks knowledge or information sufficient to form a belief

as to the remainder of Paragraph 50 and, therefore, denies the same.

       51.     Because Plaintiff Royal was not Amazon’s employee, Defendant lacks knowledge

or information sufficient to form a belief as to Plaintiff Royal’s work performance while employed

by VHU and, therefore, denies the allegations contained in Paragraph 51 of the Complaint.



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        52.     Because Plaintiff Royal was not Amazon’s employee, Defendant lacks knowledge

or information sufficient to form a belief as to if and when VHU terminated Plaintiff Royal from

employment and, therefore, denies the allegations contained in Paragraph 52 of the Complaint.

        53.     Defendant admits that its records indicate that around October 7, 2016, Plaintiff

Soler’s employer (TForce) assigned him to provide services to Amazon pursuant to the work order

TForce executed with Amazon.           Defendant denies the remaining allegations contained in

Paragraph 53 of the Complaint and further avers that it lacks knowledge or information sufficient

to form a belief as to Plaintiff Soler’s race or ethnicity.

        54.     Defendant admits that its records indicate that around October 7, 2016, Plaintiff

Soler’s employer (TForce) assigned him to provide services to Amazon pursuant to the work order

TForce executed with Amazon and that, upon information and belief, TForce paid Plaintiff Soler

for services Plaintiff Soler provided to TForce. Because Plaintiff Soler was not Amazon’s

employee, Amazon lacks knowledge or information sufficient to form a belief as to the remainder

of Paragraph 54 and, therefore, denies the same.

        55.     Defendant admits that the work order executed by TForce contained certain

contractual obligations regarding the procurement of criminal background and motor vehicle

record checks on TForce employees assigned to service Amazon accounts. Because Plaintiff Soler

was not Amazon’s employee, Amazon lacks knowledge or information sufficient to form a belief

as to the remainder of Paragraph 55 and, therefore, denies the same.

        56.     Because Plaintiff Soler was not Amazon’s employee, Defendant lacks knowledge

or information sufficient to form a belief as to Plaintiff Soler’s work performance while employed

by TForce and, therefore, denies the allegations contained in Paragraph 56 of the Complaint.




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       57.     Because Plaintiff Soler was not Amazon’s employee, Defendant lacks knowledge

or information sufficient to form a belief as to if and when TForce terminated Plaintiff Soler from

employment and, therefore, denies the allegations contained in Paragraph 57 of the Complaint.

       58.     Defendant admits that its records indicate that around May 12, 2016, Plaintiff

Young’s employer (MLSI) assigned him to provide services to Amazon pursuant to the work order

MLSI executed with Amazon. Defendant denies the remaining allegations contained in Paragraph

57 of the Complaint and further avers that it lacks knowledge or information sufficient to form a

belief as to Plaintiff Young’s race.

       59.     Defendant admits that its records indicate that around May 12, 2016, Plaintiff

Young’s employer (MLSI) assigned him to provide services to Amazon pursuant to the work order

MLSI executed with Amazon and that, upon information and belief, MLSI paid Plaintiff for

services Plaintiff provided to MLSI. Because Plaintiff Young was not Amazon’s employee,

Amazon lacks knowledge or information sufficient to form a belief as to the remainder of

Paragraph 59 and, therefore, denies the same.

       60.     Defendant admits that the work order executed by MLSI contained certain

contractual obligations regarding the procurement of criminal background and motor vehicle

record checks on MLSI employees assigned to service Amazon accounts. Because Plaintiff Young

was not Amazon’s employee, Amazon lacks knowledge or information sufficient to form a belief

as to the remainder of Paragraph 60 and, therefore, denies the same.

       61.     Because Plaintiff Young was not Amazon’s employee, Defendant lacks knowledge

or information sufficient to form a belief as to Plaintiff Young’s work performance while

employed by MLSI and, therefore, denies the allegations contained in Paragraph 61 of the

Complaint.



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       62.     Because Plaintiff Young was not Amazon’s employee, Defendant lacks knowledge

or information sufficient to form a belief as to if and when MLSI terminated Plaintiff Young from

employment and, therefore, denies the allegations contained in Paragraph 62 of the Complaint.

       63.     Defendant admits that Plaintiffs purport to bring the instant action on behalf of

themselves and other unidentified individuals.       Defendant denies the remaining allegations

contained in Paragraph 63 of the Complaint and specifically denies that Plaintiffs’ claims are

amenable to class action adjudication.

       64.     Defendant admits that Plaintiffs purport to “reserve the right to amend the definition

of” the classes defined in Paragraph 63 of the Complaint, but Defendant denies that Plaintiffs’

claims are amenable to class action litigation and otherwise denies the allegations contained in

Paragraph 64 of the Complaint.

       65.     Defendant denies the allegations in Paragraph 65 of the Complaint and specifically

denies that Plaintiffs’ claims are amenable to class action adjudication.

       66.     Defendant denies the allegations in Paragraph 66 of the Complaint and specifically

denies that Plaintiffs’ claims are amenable to class action adjudication.

       67.     Because Amazon did not employ Plaintiffs, Amazon lacks knowledge or

information sufficient to form a belief as to whether (and, if so, the circumstances under which)

the DSPs that employed Plaintiffs terminated their employment and lacks knowledge as to whether

Plaintiffs are Black or Latino. On that basis, Defendant denies that “Plaintiffs are members of the

classes” defined in Paragraph 63 of the Complaint. Defendant also denies that it ever employed

Plaintiffs and/or those whom they purport to represent and, accordingly, denies that it ever

terminated Plaintiffs and/or those whom they purport to represent. Defendant further denies the




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remaining allegations in Paragraph 67 of the Complaint and specifically denies that Plaintiffs’

claims are amenable to class action adjudication.

       68.     Defendant avers that at this time it lacks knowledge or information sufficient to

form a belief as to Plaintiffs’ commitment to pursuing this action or the competency of Plaintiffs’

selected counsel. Further, Defendant denies that Plaintiffs’ claims are amenable to class action

adjudication and denies the remaining allegations in Paragraph 68 of the Complaint.

       69.     Defendant denies the allegations in Paragraph 69 of the Complaint and specifically

denies that Plaintiffs’ claims are amenable to class action adjudication and that Plaintiffs and/or

those whom they purport to represent are entitled to any of the relief they seek.

       70.     Defendant denies the allegations in Paragraph 70 of the Complaint and specifically

denies that Plaintiffs’ claims are amenable to class action adjudication and that Plaintiffs and/or

those whom they purport to represent are entitled to any of the relief they seek.

       71.     Defendant admits that Plaintiffs filed class action complaints with the

Massachusetts Commission Against Discrimination, which were dual-filed with the EEOC, on

January 31, 2017, and that Plaintiffs amended those complaints on January 13, 2018. Defendant

further avers that the Massachusetts Commission Against Discrimination denied Plaintiffs’ request

for class treatment.

       72.     Defendant admits Paragraph 72 of the Complaint.

       73.     Defendant incorporates by reference all of its previous responses to the Complaint

as though fully set forth herein.

       74.     Defendant admits that Plaintiffs have accurately and selectively quoted portions of

M.G.L. c. 151B in Paragraph 74 of the Complaint, which is a statute that speaks for itself.




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Defendant therefore denies any effort by Plaintiffs to characterize or suggest conclusions from the

selectively quoted language.

       75.     Defendant denies the allegations contained in Paragraph 75 of the Complaint.

       76.     Defendant admits that Plaintiffs have accurately and selectively quoted portions of

M.G.L. c. 151B in Paragraph 76 of the Complaint, which is a statute that speaks for itself.

Defendant therefore denies any effort by Plaintiffs to characterize or suggest conclusions from the

selectively quoted language.

       77.     Defendant denies the allegations contained in Paragraph 77 of the Complaint.

       78.     Defendant admits that Plaintiffs have accurately and selectively quoted portions of

M.G.L. c. 151B in Paragraph 78 of the Complaint, which is a statute that speaks for itself.

Defendant therefore denies any effort by Plaintiffs to characterize or suggest conclusions from the

selectively quoted language.

       79.     Defendant denies the allegations contained in Paragraph 79 of the Complaint.

       80.     Defendant incorporates by reference all of its previous responses to the Complaint

as though fully set forth herein.

       81.     Defendant admits that Plaintiffs have accurately and selectively quoted portions of

Title VII in Paragraph 81 of the Complaint, which is a statute that speaks for itself. Defendant

therefore denies any effort by Plaintiffs to characterize or suggest conclusions from the selectively

quoted language.

       82.     Defendant denies the allegations contained in Paragraph 82 of the Complaint.

       83.     Defendant denies the allegations contained in Paragraph 83 of the Complaint.

       Defendant denies the prayer for relief contained in the unnumbered “Wherefore” paragraph

of the Complaint (as well as its subparts A through L), and it specifically denies that this matter is


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suitable for class treatment and/or that Plaintiffs and those whom they purport to represent are

entitled to any relief.

                                           JURY TRIAL

        Defendant admits that Plaintiffs purport to request a jury trial.

                                       GENERAL DENIAL

        Defendant denies every allegation not specifically admitted herein.

                          AFFIRMATIVE AND SEPARATE DEFENSES

        1.      Plaintiffs’ Complaint, in whole or in part, fails to state a claim upon which relief

can be granted for Plaintiffs and/or some or all of the individuals they purport to represent.

        2.      Some or all of Plaintiffs’ claims and/or those of some or all of the individuals they

purport to represent are barred, in whole or in part, by the applicable statutes of limitations

governing the claims advanced by Plaintiffs.

        3.      To the extent Plaintiffs are pursuing claims that are not described in, are broader

than, or are not related to the Charges of Discrimination they dual-filed with the Massachusetts

Commission Against Discrimination and EEOC, Plaintiffs have failed to exhaust their

administrative remedies with respect to those claims.

        4.      To the extent that Plaintiffs failed to comply with the statutory and/or jurisdictional

prerequisites for the institution of an action under either M.G.L. c. 151B or Title VII, Plaintiffs’

claims are barred and/or diminished.

        5.      Some or all of Plaintiffs’ claims and/or those of some or all of the individuals they

purport to represent are barred, in whole or in part, because some or all of these individuals lack

standing to seek some or all of the requested relief.




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       6.      Some or all of Plaintiffs’ claims and/or those of some or all of the individuals they

purport to represent are barred, in whole or in part, to the extent some or all of these individuals

have released or waived such claims.

       7.      Defendant never employed any Plaintiff or any of the individuals Plaintiffs purport

to represent under any applicable law or any common law doctrine and, therefore, cannot be held

liable under either M.G.L. c. 151B or Title VII, which apply only to employers.

       8.      Although Defendant denies any wrongdoing, if any improper, illegal, or

discriminatory acts were taken by any of Plaintiffs’ employers against Plaintiffs, such acts were

outside of the scope of and/or inconsistent with Defendant’s contract with Plaintiffs’ employers,

and such acts were never ratified, confirmed, or approved by Defendant.

       9.      Some or all of Plaintiffs’ claims and/or those of some or all of the individuals they

purport to represent are barred, in whole or in part, because Defendant’s actions were job-related

and/or justified by business necessity.

       10.     To the extent Plaintiffs can state a prima facie case of discrimination based on

disparate impact, which Defendant denies, Plaintiffs’ claim fails because Plaintiffs cannot establish

the existence of an alternative policy or practice that has a lesser disparate impact and cannot

establish that Defendant refused to adopt this policy or practice.

       11.     All actions taken with respect to Plaintiffs were taken in good faith and for

legitimate, non-discriminatory, and non-retaliatory reasons.

       12.     Defendant’s actions taken with respect to Plaintiffs were based on bona fide factors

other than race.




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       13.     Defendant, at all times relevant, exercised good faith efforts to comply with M.G.L.

c. 151B, Title VII, and other anti-discrimination statutes and, at all times relevant, acted

reasonably, in good faith, and without malice.

       14.     Defendant denies that Plaintiffs’ race, ethnicity, or any other impermissible factor

played any role in the decisions relating to their eligibility to perform delivery services for Amazon

on behalf of their respective DSP employers. Alternatively, even if some impermissible factor had

played a role in any eligibility decision, which Defendant denies, the same decisions would have

been reached for legitimate, non-discriminatory reasons.

       15.     Defendant consistently exercised reasonable care to prevent and promptly correct

any alleged discrimination.

       16.     An award of punitive damages under the circumstances of this case would be an

excessive fine and otherwise would be in violation of Defendant’s due process and other rights

under the United States Constitution and the laws of the Commonwealth of Massachusetts.

       17.     Some or all of Plaintiffs’ claims and/or those of some or all of the individuals they

purport to represent are barred, in whole or in part, by the doctrines of res judicata and/or equitable

estoppel.

       18.     Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrines of

laches, estoppel, and unclean hands because Plaintiffs, to the extent they suffered any harm, did

not act promptly to notify Defendant of the alleged harm.

       19.     To the extent that Plaintiffs have failed to mitigate their alleged damages, their

claims and remedies are diminished or barred.

       20.     Plaintiffs are not entitled, on the law or the facts, to any of the damages claimed,

including, but not limited to, punitive damages.



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       21.     Plaintiffs’ request for reinstatement should be barred because Defendant cannot and

does not exercise any control as to which individuals a DSP hires for employment.

       22.     To the extent that, during the course of the litigation, Defendant acquires any

evidence of wrongdoing by Plaintiffs, which wrongdoing would have materially affected the terms

and conditions of Plaintiffs’ assignment with Amazon and which would have resulted in Plaintiffs

not being eligible to service Amazon accounts on behalf on their DSP employers, such after-

acquired evidence shall bar or limit Plaintiffs’ claims for liability and/or damages.

       23.     To the extent that, during the course of the litigation, Defendant acquires any

evidence of wrongdoing by Plaintiffs, which wrongdoing would have materially affected the terms

and conditions of Plaintiffs’ employment with their respective DSPs and which would have

resulted in Plaintiffs’ termination from employment by their DSPs, such after-acquired evidence

shall bar or limit Plaintiffs’ claims for liability and/or damages.

       24.     Plaintiffs and/or some or all of the individuals they purport to represent are not

entitled to equitable relief insofar as some or all of these individuals have an adequate remedy at

law.

       25.     Some or all of Plaintiffs’ claims and/or those of some or all of the individuals they

purport to represent are barred, in whole or in part, to the extent that they are subject to mandatory

dispute resolution and arbitration.

       26.     Some or all of Plaintiffs’ claims and/or those of some or all of the individuals they

purport to represent present inquiries for which individual questions predominate and, accordingly,

are not appropriate for class action treatment.




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       27.       Some or all of Plaintiffs’ claims are neither common to nor typical of those of some

or all of the individuals they purport to represent and, accordingly, are not appropriate for class

action treatment.

       28.       The putative class action members whom Plaintiffs purport to represent are not

ascertainable.

       29.       Some or all of Plaintiffs’ claims are not maintainable for, among other reasons,

failure to satisfy the requirement of superiority and, accordingly, are not appropriate for class

action treatment.

       30.       Certain interests of the proposed class action members are in conflict with the

interests of Plaintiffs and/or other proposed class action members that Plaintiffs purport to

represent.

       31.       The Court lacks personal jurisdiction over Defendant with respect to the claims of

some or all of the individuals Plaintiffs purport to represent.

                                  RESERVATION OF RIGHTS

       Defendant reserves the right to amend its Answer and Defenses to the Complaint, including

to assert such additional defenses that may appear and prove applicable during discovery

proceedings and its continuing fact investigation, or otherwise, in this case.

                 WHEREFORE, Defendant requests as follows:

       (A)       That the Complaint and each cause of action therein be dismissed with prejudice;

       (B)       That Plaintiffs’ requests for damages, remedies, fees, costs, and equitable and other

relief be denied in their entirety, and that Plaintiffs take nothing by way of the Complaint;

       (C)       That Defendant be awarded its costs of suit, disbursements, and attorneys’ fees

herein; and



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       (D)    That the Court order such other and further relief for Defendant as the Court may

deem just and proper.


DATED: April 17, 2020                      MORGAN, LEWIS & BOCKIUS LLP



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                                 CERTIFICATE OF SERVICE

I, Keri L. Engelman, hereby certify that, on April 17, 2020, a true and correct copy of the foregoing

Defendant’s Answer and Defenses to Plaintiffs’ First Amended Class Action Complaint was filed

electronically and is available for viewing and downloading from the ECF system of the U.S.

District Court for the Eastern District of Massachusetts by the following:


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                                              /s/ Keri L Engelman
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